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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTDISTRICT LITIGATION


IN RE: UNITED STATES SOCCER                     )   MDL No.
FEDERATION PAY DISCRIMINATION                   )
LITIGATION                                      )
                                                )

   MOTION OF PLAINTIFFS FOR TRANSFER OF ACTIONS TO THE CENTRAL
 DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED
              OR CONSOLIDATED PRETRIAL PROCEEDINGS

       Plaintiffs Alex Morgan, Megan Rapinoe, Becky Sauerbrunn, Carli Lloyd, Morgan Brian,

Jane Campbell, Danielle Colaprico, Abby Dahlkemper, Tierna Davidson, Crystal Dunn, Julie Ertz,

Adrianna Franch, Ashlyn Harris, Tobin Heath, Lindsey Horan, Rose Lavelle, Allie Long, Merritt

Mathias, Jessica McDonald, Samantha Mewis, Alyssa Naeher, Kelley O’Hara, Christen Press,

Mallory Pugh, Casey Short, Emily Sonnett, Andi Sullivan and McCall Zerboni (“Plaintiffs”), the

named plaintiffs in the putative class action Morgan et al. v. United States Soccer Federation,

Case No. 2:19-cv-01717, respectfully move this Panel, pursuant to 28 U.S.C. §1407, for transfer

of the related action, Solo v. United States Soccer Federation, Case No. 3:18-cv-05215 JD, to the

Central District of California.
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Dated: March 8, 2019                WINSTON & STRAWN LLP


                                    By: /s/ Jeffrey L. Kessler
                                        Jeffrey L. Kessler
                                        jkessler@winston.com
                                        David G. Feher
                                        dfeher@winston.com
                                        WINSTON & STRAWN LLP
                                        200 Park Avenue
                                        New York, New York 10166
                                        Telephone: (212) 294- 6700
                                        Facsimile: (212) 294-4700

                                           Cardelle B. Spangler
                                           cspangler@winston.com
                                           WINSTON & STRAWN LLP
                                           35 West Wacker Drive
                                           Chicago, Illinois 60601
                                           Telephone: (312) 558-5600
                                           Facsimile: (312) 558-5700

                                           Diana Hughes Leiden
                                           dhleiden@winston.com
                                           WINSTON & STRAWN LLP
                                           333 South Grand Avenue, 38th Floor
                                           Los Angeles, California 90071-1543
                                           Telephone: (213) 615-1700
                                           Facsimile: (213) 615-1750

                                           Jeanifer E. Parsigian
                                           jparsigian@winston.com
                                           WINSTON & STRAWN LLP
                                           101 California St., 35th Floor
                                           San Francisco, CA 94111
                                           Telephone: (415) 591-1000
                                           Facsimile: (415) 591-1400

                                           Attorneys for Plaintiffs
                                           ALEX MORGAN, MEGAN RAPINOE,
                                           BECKY SAUERBRUNN, CARLI LLOYD,
                                           MORGAN BRIAN, JANE CAMPBELL,
                                           DANIELLE COLAPRICO, ABBY
                                           DAHLKEMPER, TIERNA DAVIDSON,
                                           CRYSTAL DUNN, JULIE ERTZ,
                                           ADRIANNA FRANCH, ASHLYN HARRIS,
                                           TOBIN HEATH, LINDSEY HORAN, ROSE


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                               LAVELLE, ALLIE LONG, MERRITT
                               MATHIAS, JESSICA MCDONALD,
                               SAMANTHA MEWIS, ALYSSA NAEHER,
                               KELLEY O’HARA, CHRISTEN PRESS,
                               MALLORY PUGH, CASEY SHORT,
                               EMILY SONNETT, ANDI SULLIVAN AND
                               MCCALL ZERBONI




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